                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF NEW MEXICO

In re: KATHRYN ESQUIBEL,                                            Case No. 17-10498-j7
                                                                          Chapter 7
       Debtor.




   PLAINTIFF MARTIN LOPEZ III, P. C.’S OBJECTION HEARING EXHIBIT LIST

               COMES NOW Martin Lopez III, P. C. (hereinafter “Claimant”) by and through

his attorney , Michael K. Daniels, hereby submits the following list of exhibits which may

be offered at the hearing on Defendant John Sexton’s and Creditor David Alton Kelly’s

Objections to claim of Martin Lopez III, P.C. (Docket Nos. 30 and 33) scheduled for Wednesday,

March 27, 2019 through March 28, 2019 beginning at 9:00 each day.

       1.      Fee Agreement between Martin Lopez III, P.C. and Kathyrn Esquibel;

       2.      Certified New Mexico Fourth District Court Docket, Esquibel v. Esquibel, D-412-
               DM-2011-00157;

       3.      Retainer Agreement between Martin Lopez III, P.C. and Jane B. Yohalem, dated
               May 13, 2014;

       4.      Certified New Mexico Court of Appeals Docket, Esquibel v. Esquibel, CA -
               33839;

       5.      Certified Memorandum Opinion - New Mexico Court of Appeals, August 29,
               2016;

       6.      Certified Martin Lopez III, P. C.’s Motion for Attorney’s Fees - Fourth District
               Court, January 23, 2017;

       7.      Certified Notice of Filing Affidavit of Attorney Jane B. Yohalem. Affidavit and
               attached Exhibits A through E, in support of Motion for Attorney’s Fees - Fourth
               District Court, January 31, 2017;



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       8.      Invoices from Jane B. Yohalem, dated March 20, 2015, March 31, 2016, August
               30, 2016, January 31, 2017;

       9.      Cancelled checks from Martin Lopez III, P.C. to Jane B. Yohalem; dated March
               20, 2015; May 15, 2015; May 4, 2016; May 19, 2016; December 23, 2016

       10.     Revised Resume of Jane Bloom Yohalem;

       11.     Notice and Objection to the Creditor Claim of Martin Lopez III by John Sexton,
               (Doc. 30) Case 17-10498-j7;

       12.     Notice of Objection to the Creditor Claim of Martin Lopez III by John Sexton,
               (Doc. 31) Case 17-10498-j7;

       13.     Notice of Objection to the Creditor Claim of Martin Lopez III by David Kelly
               (Doc. 33) Case 17-10498-j7;

       14.     Any exhibit identified by any other party.

       15.     Any necessary rebuttal exhibits.

                                                              Respectfully submitted,


                                                              Filed electronically 3/14/2019
                                                              Michael K. Daniels
                                                              Attorney for Claimant
                                                              P. O. Box 1640
                                                              Albuquerque, NM 87103
                                                              Tele: (505) 246-9385
                                                              mike@mdanielslaw.com


I certify that I sent a true and correct copy of the foregoing to the parties listed below on March
14, 2019, either via regular mail as listed below, or through the Court’s electronic noticing
system, depending upon whether or not that party is subscribed to the CM/ECF system.

Wesley O. Pool                                        Yvette J. Gonzales
201 Innsdale Terrace                                  P. O. Box 1037
Clovis, NM 88101                                      Placitas, NM 87042-1037




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Edward Mazel                                    David Kelly
1122 Central Ave. SW #1                         P. O. Box 414
Albuquerque, NM 87102                           Santa Rosa, NM 88435

US Trustee                                      Kathryn Esquibel
P.O. Box 608                                    206 South 6th St.
Albuquerque, NM 87103                           Santa Rosa, NM 88435

Certified on 3/14/2019
Michael K. Daniels




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